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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

vs.                                  NO. 4:07CR00133 JLH

ANDRE JEFFERSON and
JOHN KENNETH PORCHIA, JR.                                                          DEFENDANTS


                                             ORDER

       By Order dated December 18, 2007, trial of this matter was set for the week of June 9, 2008.

The Court has determined that the trial should begin at 9:30 a.m. on TUESDAY, JUNE 10, 2008,

in Little Rock, Arkansas. Counsel are to be present thirty minutes prior to trial time.

       IT IS SO ORDERED this 2nd day of June, 2008.



                                                      ___________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
